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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
                         _____________________________________

GEORGE ANIBOWEI,

        Plaintiff,

v.                                               Civil Action No. 3:16-CV-3495-D

JEFFERSON B. SESSIONS, et al.,

        Defendants.

                          JOINT MOTION TO STAY DEADLINES

        As explained herein, the parties jointly move to stay the current discovery and

summary-judgment deadlines. As background, this case presents certain legal issues

concerning the scope of the government’s authority to search electronic devices carried

by U.S. citizen travelers re-entering the country at the border. Per the live pleading (an

amended complaint), Plaintiff is a U.S. citizen who had his cell phone searched and

contents copied at the border and who has also been subjected to “secondary inspection”

by border officials on a number of occasions when returning to the country. Plaintiff

seeks declaratory and injunctive relief regarding the government’s search authority with

respect to cell phones at the border. Defendants, who are various federal agency heads or

officials sued in their official capacity, have filed a motion to dismiss the amended

complaint, which motion among other things asserted that jurisdiction is lacking and that

Plaintiff fails to state any claim upon which relief can be granted.

        The parties stated in their scheduling order proposal (Doc. 12) that they believed it


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would make sense to obtain a ruling on the motion to dismiss before engaging in

additional litigation, discovery, and/or motion practice. The Magistrate Judge has now

issued a recommendation concerning the motion to dismiss, (which recommendation

would allow the case to go forward, at least in part; (see Doc. 19)), and the matter is now

before the Court on an objection filed by defendants (see Doc. 20 (defendant’s objection);

Doc. 21 (plaintiff’s response); Doc. 22 (defendant’s reply)).

        Given this procedural posture of the case, the parties request that the current

March 23, 2018 deadlines for the close of discovery and summary-judgment motions be

stayed. After the Court rules on the motion to dismiss, the parties will then take

appropriate action to request that any necessary deadlines (such as for discovery or

summary-judgment motions) be re-set.




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        Respectfully submitted,

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                                                      Attorneys for Defendants

                                          Certificate of Service

        On March 22, 2018, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                                        /s/ Brian W. Stoltz
                                                        Brian W. Stoltz
                                                        Assistant United States Attorney




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